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                        IN THE UNITED STATES DISTRICT COURT

                                      DISTRICT OF UTAH


    VINCENT MASSA and KATHRYN                          AMENDED SCHEDULING ORDER
    MASSA, individually, as natural parents,
    and personal representatives of the Estate
    of DOMINIC MASSA, decedent, by and
    for the benefit of his heirs,

                  Plaintiffs,                               Case No. 2:21-cv-00187-JCB

    v.

    UNITED STATES OF AMERICA; et al.,

                  Defendants.                            Magistrate Judge Jared C. Bennett


       Before the court is the parties’ stipulated motion to amend the scheduling order. 1 For the
reasons set forth in the motion, and for good cause shown, the court GRANTS the motion.
Accordingly, the following matters are scheduled. The times and deadlines set forth herein may
not be modified without the approval of the court and on a showing of good cause pursuant to
Fed. R. Civ. P. 6.

                      **ALL TIMES 11:59 P.M. UNLESS INDICATED**

    1.        PRELIMINARY MATTERS                                                    DATE

              Nature of claims and any affirmative defenses:

         a.   Date the Rule 26(f)(1) conference was held:                            07/22/2021

         b.   Date the parties submitted the Attorney Planning
              Meeting Report:                                                        07/26/2021

         c.   Deadline for Rule 26(a)(1) initial disclosures:                        08/05/2021




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    ECF No. 43.
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2.        DISCOVERY LIMITATIONS                                                      NUMBER

     a.   Maximum number of depositions by Plaintiff(s):                             10

     b.   Maximum number of depositions by Defendant(s):                             15

     c.   Maximum number of hours for each deposition
          (unless extended by agreement of parties):                                 7

     d.   Maximum interrogatories by any party to any party:                         25

     e.   Maximum requests for admissions by any party to any
          party:                                                                     25

     f.   Maximum requests for production by any party to any
          party:                                                                     25

     g.   The parties shall handle discovery of electronically stored information as follows: The
          parties stipulate that electronically stored information will be produced initially in .PDF
          or .TIFF format, except for any photographs or videos. Photographs will be produced
          in .PDF format, unless a better-quality image is requested, in which case such
          photograph will be produced in .JPEG format. Videos will be produced in native format.
          Additionally, the parties stipulate that, upon a request by a party, documents or
          information previously produced in .PDF format will be produced in native format.
          Should the party to whom the request is directed object, the parties agree to meet and
          confer in good faith to resolve the dispute.

     h.   The parties shall handle a claim of privilege or protection as trial preparation
          material asserted after production as follows: The parties will follow the procedures
          outlined in Fed. R. Civ. P. 26(b)(5)(B) and Fed. R. Evid. 502.

     i.   Last day to serve written discovery:                                       02/21/2022

     j.   Close of fact discovery:                                                   06/27/2022

     k.   (optional) Final date for supplementation of                               02/21/2022
          disclosures and discovery under Rule 26(e):




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    3.         AMENDMENT OF PLEADINGS/ADDING PARTIES 2                            DATE

         a.    Last day to file Motion to Amend Pleadings:                        02/21/2022

         b.    Last day to file Motion to Add Parties:                            02/21/2022

    4.         RULE 26(a)(2) EXPERT DISCLOSURES &                                 DATE
               REPORTS

         Disclosures (subject and identity of experts)

         a.    Party(ies) bearing burden of proof:                                10/04/2022

         b.    Counter disclosures:                                               10/25/2022

         Reports

         a.    Party(ies) bearing burden of proof:                                12/09/2022

         b.    Counter reports:                                                   01/23/2023

    5.         OTHER DEADLINES                                                    DATE

         a.    Last day for expert discovery:                                     05/01/2023

         b.    Deadline for filing dispositive or potentially dispositive
               motions:                                                           06/13/2023

         c.    Deadline for filing partial or complete motions to
               exclude expert testimony:                                          06/13/2023

         d.    Deadline for filing a request for a scheduling conference
               with the Magistrate Judge for the purpose of setting a
               trial date if nodispositive motions are filed:                     06/20/2023

    6.         SETTLEMENT/ALTERNATIVE DISPUTE RESOLUTION                          DATE

         a.    Likely to request referral to a magistrate judge for
               settlement conference:                                       Yes

         b.    Likely to request referral to court-annexed arbitration:     No



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    Counsel must still comply with the requirements of Fed. R. Civ. P. 15(a).

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     c.   Likely to request referral to court-annexed mediation:          No

     d.   The parties will complete private mediation/arbitration
          by:                                                                  05/30/2023

     e.   Evaluate case for settlement/ADR on:                                 08/26/2023

     f.   Settlement probability: Fair

7.        TRIAL AND PREPARATION FOR TRIAL

          At the time of argument on motions for summary
          judgment, the court will discuss the scheduling of trial.
          Counsel should come to the hearing prepared to discuss
          possible trial dates. If the schedule set forth herein is not
          extended, the parties can generally expect that trial will
          be set sometime during the first quarter of 2024.

8.        OTHER MATTERS

          Parties should fully brief all motions in limine well in
          advance of the final pretrial conference.

     IT IS SO ORDERED.

     DATED this 5th day of August 2022.

                                              BY THE COURT:




                                              JARED C. BENNETT
                                              United States Magistrate Judge




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